Case: 24-1936    Document: 32     Page: 1   Filed: 07/10/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

 TEVA BRANDED PHARMACEUTICAL PRODUCTS
  R&D, INC., NORTON (WATERFORD) LTD., TEVA
         PHARMACEUTICALS USA, INC.,
               Plaintiffs-Appellants

                             v.

   AMNEAL PHARMACEUTICALS OF NEW YORK,
     LLC, AMNEAL IRELAND LTD., AMNEAL
      PHARMACEUTICALS LLC, AMNEAL
           PHARMACEUTICALS, INC.,
              Defendants-Appellees
             ______________________

                        2024-1936
                  ______________________

     Appeal from the United States District Court for the
 District of New Jersey in No. 2:23-cv-20964-SRC-MAH,
 Judge Stanley R. Chesler.
                 ______________________

                      ON MOTION
                  ______________________

 PER CURIAM.
                        ORDER
     Appellants submit a motion to stay, pending appeal,
 the district court’s June 10, 2024 order directing them to
Case: 24-1936    Document: 32      Page: 2    Filed: 07/10/2024




 2      TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC. v.
                 AMNEAL PHARMACEUTICALS OF NEW YORK, LLC


 correct or delete relevant Orange Book patent information.
 Appellees oppose.
      Rule 8(a)(2) of the Federal Rules of Appellate Proce-
 dure authorizes this court to grant a stay pending appeal.
 We consider four factors: “(1) whether the [movant] is likely
 to succeed on the merits, (2) whether it will suffer irrepa-
 rable injury without a stay, (3) whether the stay will sub-
 stantially injure the other parties interested in the
 proceedings, and (4) where the public interest lies.” Ohio
 v. Env’t Prot. Agency, 2024 WL 3187768, at *6 (U.S. June
 27, 2024) (citing Nken v. Holder, 556 U.S. 418, 434 (2009));
 see also Standard Havens Prods. Inc. v. Gencor Indus., Inc.,
 897 F.2d 511, 512―13 (Fed. Cir. 1990).
     Based on the papers submitted, and our expedition of
 the completion of briefing and argument on the merits, we
 conclude that a stay is warranted under the circumstances
 of this case at this time. The grant of a stay is without
 prejudice to the merits panel’s ultimate disposition of this
 case or its authority to dissolve the stay.
     Accordingly,
     IT IS ORDERED THAT:
     (1) The motion is granted to the extent that the district
 court’s June 10, 2024 order is stayed until further notice of
 this court.
     (2) The Clerk of Court shall transmit a copy of this or-
 der to the merits panel assigned to this appeal.
                                               FOR THE COURT




 July 10, 2024
     Date
